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      Attorneys for Plaintiff TESSA NESIS and ELIZABETH GREY
 9    on Behalf of Herself and All Others Similarly Situated
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13   TESSA NESIS and ELIZABETH                     Case No. 2:20−cv−03452 DSF
     GREY, on Behalf of Themselves and All         (PVCx)
14   Others Similarly Situated, and the
     General Public and Acting in the Public       SECOND AMENDED CLASS
15   Interest,                                     ACTION COMPLAINT FOR:
16                      Plaintiff,                 1. THEFT BY FALSE
                                                      PRETENSES (CAL. PENAL
17       vs.                                          CODE 484 ET SEQ.)
     DO LAB, INC.; JASON FLEMMING                  2. FRAUD;
18
     a/k/a DEDE FLEMMING; JESSE                    3. RESCISSION (CAL. CIV.
19   FLEMMING; JOSH FLEMMING; and                     CODE § 1689);
     DOES 1-10, inclusive,                         4. VIOLATION OF THE
20                                                    CONSUMER LEGAL
                       Defendants.                    REMEDIES ACT (CIV. CODE §
21                                                    1750 ET SEQ.);
22                                                 5. UNLAWFUL BUSINESS
                                                      PRACTICES (BUS. & PROF.
23                                                    CODE §§ 17200, ET SEQ.);
                                                      AND
24                                                 6. INJUNCTIVE RELIEF.
25
                                                   JURY TRIAL DEMANDED
26
27
28
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 1          Plaintiffs, on behalf of themselves and all others similarly situated, based on
 2    information and belief, states as follows for their complaint:
 3                                 NATURE OF THE ACTION
 4          1.      Plaintiffs bring this class action to recover damages and other relief on
 5    behalf of themselves and the Class who were all denied full refunds for their
 6    passes/tickets purchased for the 2020 Lightning In A Bottle music festival (“LIB”) by
 7    Do Lab, Inc. (“DLI”) and its owners, Jason “Dede” Flemming, Jesse Flemming, and
 8    Josh Flemming (collectively, “Defendants”). As a result, Plaintiff brings this class
 9    action to recover the damages due to Plaintiff and the following Class (referred to as,
10    “the Class” or “Class Members”):
11
                    All individuals that purchased one or more passes/tickets to LIB
12                  that were denied full refunds upon demand for the same.
13
14          2.      “Passes/tickets” include general admission passes, VIP passes, car and

15    RV camping passes, boutique camping passes, lightning bus passes, and all other

16    forms of admission relative to LIB.

17                                           PARTIES

18          3.      Plaintiff Tessa Nesis is a resident of the State of Illinois. At all relevant

19    times, Plaintiff purchased one or more passes/tickets to LIB.

20          4.      Plaintiff Elizabeth Grey is a resident of the State of California. At all

21    relevant times, Plaintiff purchased one or more passes/tickets to LIB

22          5.      Defendant Do Lab, Inc. (“DLI” or “Defendant”) is a corporation

23    organized under the laws of the State of California with its principal place of

24    business at 1024 Santee Street, Suite 600, Los Angeles, California, 90015. At all

25    relevant times, DLI was doing business throughout the United States and the State of

26    California.

27          6.      Defendants Jason “Dede” Flemming, Jesse Flemming, and Josh

28    Flemming (collectively, “The Flemmings”) are each individuals residing in Los
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 1    Angeles County. At all relevant times, The Flemmings were principals, officers,
 2    owners or managing agents of DLI.
 3          7.     Defendants DOES 1 through 10, inclusive, are sued herein under
 4    fictitious names. Their true names and capacities are unknown to Plaintiff at this
 5    time. When their true names and capacities are ascertained, Plaintiff will amend this
 6    complaint by inserting their true names and capacities herein. Plaintiff is informed
 7    and believes and thereon alleges that each of the fictitiously named Defendants is
 8    responsible in some manner for the occurrences herein alleged, and that Plaintiff’s
 9    damages as herein alleged were proximately caused by those Defendants. Each
10    reference in this complaint to "defendants," "Defendants," or a specifically named
11    Defendant refers also to all Defendants sued under fictitious names.
12          8.     Plaintiff is informed and believes and thereon alleges that each of the
13    defendants designated herein as DOE took part in and participated with Defendants
14    in all matters referred to herein and was in some manner responsible for the injuries
15    and losses suffered by Plaintiff.
16          9.     Plaintiff is informed and believes and thereon alleges that at all times
17    herein mentioned each of the Defendants was the agent, servant and/or employee or
18    occupied other relationships with each of the other named Defendants and at all
19    times herein mentioned acted within the course and scope of said agency and/or
20    employment and/or other relationship and each other Defendants has ratified,
21    consented to, and approved the acts of his/her/its agents, employees, and
22    representatives, and that each actively participated in, aided and abetted, or assisted
23    one another in the commission of the wrongdoing alleged in this Complaint.
24                                        ALTER EGO
25          10.    The Flemmings were doing business as DLI and DLI is an alter ego of
26    The Flemmings in that there is such a unity of interest between the DLI and The
27    Flemmings that they are indistinguishable from one another. At all times, The
28    Flemmings formulated, directed, controlled, had the authority to control, and/or
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 1    participated in the acts and practices set forth in this complaint and received a direct
 2    financial benefit from them. As such, an inequitable result would occur if The
 3    Flemmings and DLI are not treated as one and the same.
 4          11.    In fact, The Flemmings have absconded with millions of dollars from
 5    passes/ticket sales compromising of monies belonging to Plaintiff and the Class and
 6    used that money for purposes other than LIB. LIB was not to take part until end of
 7    May 2020. Yet, the Flemmings would have the Class believe that they sold 10,000-
 8    20,000 tickets and somehow expended all of that money by March 2020, nearly three
 9    months before LIB was to take place. The Flemmings, Plaintiff believes, are laying
10    the groundwork to dissolve and/or reinvent DLI as a separate entity so as to avoid all
11    obligations of DLI and abscond with monies belonging to the Class.
12          12.    Worse yet, The Flemmings, and each of them, concocted a fraudulent
13    scheme to ensure that Plaintiffs and the Class do not receive full refunds. One the
14    one hand, The Flemmings, and each of them, disputed and fought credit card
15    chargebacks by intentionally misrepresenting to the banks that they were already
16    providing Plaintiffs and the Class refunds for their ticket purchases. Based on this
17    flagrant misrepresentation, the banks categorically denied chargebacks. On the other
18    hand, The Flemmings refused to give any refund to anyone that had initiated a
19    chargeback. The end result of this fraudulent scheme is The Flemmings cleverly
20    avoided chargebacks and refunds.
21                              JURISDICTION AND VENUE
22          13.    This Court has jurisdiction over the action pursuant to the Class Action
23    Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one Class member is
24    of diverse citizenship from one defendant, there are more than 100 Class members,
25    and the aggregate amount in controversy is believed to exceed $5 million, exclusive
26    on interest and costs.
27          14.    This Court has personal jurisdiction over the parties because Plaintiffs
28    submit to the jurisdiction of the Court and Defendants are citizens of this State and
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 1    systematically and continually have conducted and continue to conduct business in
 2    the County of Los Angeles and the State of California. Defendants also own and
 3    maintain substantial assets in the County of Los Angeles and the State of California.
 4           15.    Venue is proper within this judicial district under 28 U.S.C. § 1391(b)
 5    because a substantial part of the acts, conduct, events or omissions occurred within
 6    the State of California, within Los Angeles County, and because the Defendants
 7    transact business with consumers who reside in Los Angeles County and the State of
 8    California.
 9                                FACTUAL BACKGROUND
10           16.    Since 2004, DLI has been in the business of event production.
11           17.    DLI holds an annual event called Lightning In A Bottle (“LIB”), which
12    usually takes place in May.
13           18.    The Flemmings characterize DLI -- which is a multimillion dollar event
14    planning and production company -- as a small, family business run by The
15    Flemmings.
16           19.    Each year, The Flemmings, through DLI, offer for sale a variety of
17    passes/tickets to experience LIB. The passes/tickets include, but are not limited to
18    general admission, VIP, car camping, RV camping, boutique camping, lightning bus,
19    etc.
20           20.    Over the years, LIB has grown tremendously in popularity and scope—
21    and now greed. What started as an 800-person event in 2004 has developed into a
22    25,000-plus person event and continues to grow. Whereas DLI used to rent space to
23    certain food and service vendors, the corporation now offers these services itself. In
24    addition to ticket sales revenue, the corporation earns incomes from its own sale of
25    food, drink, alcohol, upscale camping, RV passes, merchandise, showers and more.
26           21.    In March 2020, in light of the COVID-19 crisis, LIB was cancelled.
27    Unlike other event production companies and concert holders, however, Defendants
28
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 1    greedily and steadfastly refuse to refund any refunds at all for the 10,000-20,000
 2    passes/tickets sold.
 3          22.    In addition, the Refund Policy in the Terms includes unconscionable
 4    and illusory terms and conditions:
 5          REFUNDS AND EXCHANGES
 6          ALL SALES ARE FINAL. NO REFUNDS WILL BE GRANTED FOR
 7          ANY REASON. EVENT DATE AND TIME SUBJECT TO CHANGE.
 8          ALL RIGHTS RESERVED. IF THE EVENT FOR WHICH THIS
 9          TICKET IS ISSUED IS RESCHEDULED OR CANCELLED, THE
10          HOLDER SHALL NOT BE ENTITLED TO A REFUND EXCEPT AS
11          OTHERWISE REQUIRED BY LAW. INSTEAD, THE HOLDER
12          SHALL       HAVE     THE       RIGHT,   EXCEPT     AS   OTHERWISE
13          PROVIDED, (1) IF THE EVENT IS RESCHEDULED TO A DATE
14          AND TIME WITHIN TWELVE MONTHS OF THE DATE AND
15          TIME ORIGINALLY SCHEDULED, TO USE THIS TICKET TO
16          ATTEND THE EVENT AT THE RESCHEDULED DATE AND
17          TIME, OR (2) IF THE EVENT IS NOT RESCHEDULED WITHIN
18          TWELVE MONTHS OF THE DATE AND TIME ORIGINALLY
19          SCHEDULED, TO EXCHANGE THIS TICKET TO ANOTHER
20          EVENT THAT IS DESIGNATED BY MANAGEMENT AS THE
21          OFFICIAL REPLACEMENT EVENT FOR THE CANCELLED
22          EVENT.
23    (See Exhibit A, Terms and Conditions.)
24          23.    Under California Law, a contract is unenforceable as illusory when one
25    of the parties has the unfettered or arbitrary right to modify or terminate the
26    agreement or assumes no obligations thereunder. (Asmus v. Pacific Bell (2000) 23
27    Cal.4th 1, 15-16.)
28
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 1          24.      Defendants’ Terms render the contract between Defendants and the
 2    purchasers illusory because Defendants retain complete and unfettered control to
 3    modify or terminate the agreement without assuming any obligations towards
 4    Plaintiff and the Class.
 5          25.      On or about March 13, 2020, Defendants cancelled LIB and made zero
 6    efforts to refund Plaintiff and the Class’ money.
 7          26.      Instead, on or about March 13, 2020, The Flemmings embarked on a
 8    campaign of misrepresentations aimed at the hearts and kindness of the Class to steal
 9    their money:
10                   A.    “The Do LaB is a small, family run business and we humbly ask
11                         for your patience as we determine our next steps.”
12                   B.    “It is important for everyone to understand that Lighting in a
13                         Bottle is owned and operated as a small family business, as it has
14                         since the beginning.”
15                   C.    “The reason we are not able to offer refunds is that we are an
16                         independent company, we have no deep pockets or outside
17                         investors.”
18                   D.    “At this time all of the money that was brought in through ticket
19                         sales was already paid out on non-refundable deposits, building
20                         materials, and staff to bring the festival to life.”
21          27.      On or about March 24, 2020, Plaintiff’s counsel initiated (but did not
22    file) a predecessor action (Rutledge v. Do Lab, Inc.) against DLI for their refusal to
23    refund tickets.     In direct response to that proposed lawsuit, DLI refunded that
24    Plaintiff in a misunderstood attempt to defeat the class action.
25          28.      As a result of Defendants failure to refund the entire Class not just the
26    plaintiff in the previous unfiled action, this action was filed on April 14, 2020. Upon
27    filing of this action, Plaintiff Nesis immediately sent a courtesy copy to Defendants
28    and Defendants acknowledged receipt within the same hour.
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 1          29.   Once again, in direct response to Plaintiff and her counsel’s efforts,
 2    Defendants changed their tune but not their end-game—to continue to retain Plaintiff
 3    and the Class’ monies. Keeping in line with their “sympathy play” on the Class, they
 4    now make the following misrepresentations:
 5                A.     [T]icket sales, in a good year, cover the festival’s bills and we
 6                       rely on other sales at our festival to make our profit.”
 7                B.     When it became clear to us that the event was going to be
 8                       canceled, we were mid-production and had spent nearly all of the
 9                       ticket money on LIB. We faced a heartbreaking truth: we do not
10                       have enough money to issue full refunds to all of you. We
11                       therefore announced that there would be no refunds.
12                C.     Notwithstanding our prior announcement, we remain committed
13                       to getting a full refund to everyone who wants one. We have
14                       worked together with the music agents and artists, and are
15                       thankful to announce that a vast majority of the artists, despite
16                       having incurred their own non-refundable expenses in planning
17                       for their LIB performances, are returning their deposits in an
18                       effort to help us in this time of crisis.
19                D.     Our goal is to build the largest pool of money possible so that we
20                       can then use it to help refund ticket purchasers. However, we
21                       need you to understand the situation, and that is if the majority of
22                       our community request refunds, it may mean the end of Do LaB
23                       because the pool will be far too small to refund everyone, and that
24                       debt will be crushing.
25    (See Exhibit B, April 15, 2020 Email to the Class (emphasis added).)
26          30.   Defendants conduct of preying on the Class to steal their money does
27    not stop there: Defendants next ask the Class to simply donate their money to
28    Defendants or let them keep it for two years:
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 1          If your life has been touched or changed in an unforgettable way by
 2          Lightning in a Bottle, please help us make it through to the other side.
 3                             Specifically, we ask that you either:
 4
 5          1. Support the Future of LIB With a Gift.
 6          If you want our organization to continue to exist and you are able to,
 7          please gift your 2020 purchase to our shared future. If you can choose
 8          this option we would be forever grateful.
 9                                             Or,
10          2. Transfer Your 2020 Ticket to a Ticket for 2021 or 2022.
11          If you can transfer your 2020 ticket to either 2021 or 2022, please do so.
12          If you are able and willing, please consider choosing 2022 instead of
13          2021. As an incentive to choose 2022, you will receive a free VIP
14          upgrade for each 2020 festival pass. If the majority of you choose 2021,
15          it will create an extremely challenging set of financial circumstances for
16          us next year. Your understanding and willingness to work with us on
17          this is appreciated beyond measure. Thank you.
18    (See Exhibit B.)
19          31.   Option 3, which they heavily discourage the Class from taking, is some
20    refund at some future unknown date:
21          3. Join the Pool to Receive a Refund.
22          If you truly cannot do either option 1 or 2, please sign up for a refund by
23          April 29th at 12pm. Once the refund registration window closes, we will
24          understand how many full refunds we can pay, and whether we need to
25          offer partial refunds. Refunds will not be immediate. We cannot give an
26          estimate as to when, but will communicate as we get clarity.
27
28
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 1          32.     Defendants then closeout on this latest part of their campaign to steal
 2    the Class’ money by returning to their theme of preying on the Class’ sympathies for
 3    Defendants:
 4          We understand that this is a big request of all of you, and far from a
 5          perfect resolution. But we also know that you care about LIB as much
 6          as we do, and that we likely cannot keep it afloat without your
 7          cooperation. We want to support you, and are asking you to support us.
 8          And, if you have any other creative ideas or solutions that we might
 9          have         missed,       please        let        us      know        at:
10          questions2020@lightninginabottle.org
11    (See Exhibit 2.)
12          33.     Defendants’ deceit does not end there. The refund “option” presents
13    another volley of illusory obligations to avoid providing a full refund:
14                  A.    Defendants will first doge the refund by claiming they could
15                        not find it: “If we are not able to find your order, or the info
16                        entered below does not match the order number’s info, we will
17                        not be able to process the refund.”
18                  B.    Next, to the extent they locate the record, Defendants will
19                        decide how much to refund: “As to final refund amount, we
20                        will use best efforts to gather the largest pool of money possible
21                        so we can distribute it pro rata to the customers who have opted
22                        into the refund pool. . . . [T]here is a possibility, based on the
23                        amount of money in the pool and the number of customers
24                        requesting a refund, that you may only receive a partial refund.”
25                  C.    Defendants will decide when, if ever, the refunds will actually
26                        be made: “Totaling all the refund requests after the deadline will
27                        take time to obtain the largest amount of funding for the pool as
28
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 1                        possible and we cannot give you an estimate as to how long it
 2                        will take to receive your refund.”
 3                 D.     Then there are the two final kickers—(1) you must take
 4                        affirmative action and (2) provide a release:                 “For non-
 5                        responders of the options provided, the credit of your ticket
 6                        purchase will be applied to the forgo refund option. . . . By
 7                        selecting ‘I agree’ below and submitting the form, you are
 8                        acknowledging you have fully read, understand and agree to the
 9                        Disclaimer and the option that you have chosen, that you are of
10                        legal age to consent to this agreement, and are choosing this
11                        option in exchange for a release of claim against Do Lab, Inc. and
12                        its employees arising from your purchase of a ticket to Lightning
13                        In A Bottle 2020 and the cancellation of the event.
14    (See Exhibit C, Refund Option.)
15          34.    It is important to note that the refund “option” was made available after
16    and as direct result of Plaintiffs’ efforts in filing and pursuing this action.
17          35.    But the fraud and deceit does not stop there. Defendants, and each of
18    them, concocted a fraudulent scheme to ensure that Plaintiffs and the Class do not
19    receive full refunds. One the one hand, Defendants, and each of them, disputed and
20    fought credit card chargebacks by intentionally misrepresenting to the banks that
21    they were already providing Plaintiffs and the Class refunds for their ticket
22    purchases. As a result, the banks categorically denied every chargeback. On the
23    other hand, Defendants refused to give any refund to anyone that had initiated a
24    chargeback
25          36.    In the end, each of the Defendants’ conduct and misrepresentations are
26    part of their campaign to misuse the trust of their loyal customers, discourage their
27    loyal customers from pursuing their rights, and to abscond with their money.
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 1          37.    Plaintiffs and the Class performed all obligations and conditions
 2    required of them.
 3                                   CLASS ALLEGATIONS
 4          38.    Description of the Class: Plaintiffs bring this Class action on behalf of
 5    themselves and the Class defined as follows:
 6                 All individuals that purchased one or more passes/tickets to LIB
 7                 that were denied full refunds upon demand for the same.
 8          39.    Excluded from the Class are governmental entities, any entity in which
 9    Defendant had a controlling interest, and Defendant’s officers, directors, and salaried
10    and exempt employees. Also excluded from the Class is any judge, justice, or
11    judicial officer presiding over this matter and the members of their immediate
12    families and judicial staff.
13          40.    Plaintiffs reserve the right to modify the Class’ description and the
14    Class’ period based on the results of discovery.
15          41.    Numerosity:       The proposed Class are so numerous that individual
16    joinder of all its members is impracticable. As the factual allegations demonstrate,
17    thousands of persons are members of the Class.          While the exact number and
18    identities of the members of the Class are unknown at this time, such information can
19    be ascertained through appropriate investigation and discovery. The disposition of
20    the claims of the members of the Class in a single class action will provide
21    substantial benefits to all parties and to the Court.
22          42.    Common Questions of Law and Fact Predominate: There are many
23    questions of law and fact common to the representative Plaintiffs and the Class, and
24    those questions substantially predominate over any questions that may affect
25    individual Class members. Common questions of fact and law include, but are not
26    limited to, the following:
27          a.     Whether Defendants’ engaged in theft and fraud by withholding
28                 Plaintiffs and the Class’ money for ticket purchases;
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 1          b.     Whether Defendants’ Refund Policy is illusory or includes
 2                 unconscionable terms;
 3          c.     Whether Defendants’ Refund Policy violates the CLRA;
 4          d.     Whether Defendants engaged in unlawful, unfair, or fraudulent
 5                 business practices in violation of Business and Professions Code
 6                 § 17200 et seq.;
 7          e.     The nature and extent of damages, restitution and disgorgement,
 8                 and other remedies to which Plaintiffs and the members of the
 9                 Class are entitled.
10          43.    Typicality: Plaintiffs’ claims are typical of the claims of the members
11    of the Class. Plaintiffs and all members of the Clas have been similarly affected by
12    Defendants’ common course of conduct.
13          44.    Adequacy of Representation:        Plaintiffs will fairly and adequately
14    represent and protect the interests of the Class. Plaintiffs have retained counsel with
15    substantial experience in prosecuting complex and class action litigation. Plaintiffs
16    and their counsel are committed to vigorously prosecuting this action on behalf of
17    the Class, and have the financial resources to do so. Neither Plaintiffs nor their
18    counsel have any interests adverse to those of the Class.
19          45.    Superiority of a Class Action: Plaintiffs and the members of the Class
20    suffered, and will continue to suffer, harm as a result of Defendants’ unlawful and
21    wrongful conduct. A class action is superior to other available methods for the fair and
22    efficient adjudication of the controversy. Individual joinder of all members of the
23    Class is impractical. Even if individual Class members had the resources to pursue
24    individual litigation, it would be unduly burdensome to the courts in which the
25    individual litigation would proceed. Individual litigation magnifies the delay and
26    expense to all parties in the court system of resolving the controversies engendered
27    by Defendants’ common course of conduct. The class action device allows a single
28    court to provide the benefits of unitary adjudication, judicial economy, and the fair
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 1    and equitable handling of all class members' claims in a single forum. The conduct
 2    of this action as a class action conserves the resources of the parties and of the
 3    judicial system, and protects the rights of the Class. Furthermore, for many, if not
 4    all, class members, a class action is the only feasible mechanism that allows them an
 5    opportunity for legal redress and justice.
 6             46.   Adjudication of individual class members’ claims with respect to the
 7    Defendants would, as a practical matter, be dispositive of the interests of other
 8    members not parties to the adjudication, and could substantially impair or impede the
 9    ability of other class members to protect their interests.
10                                 FIRST CAUSE OF ACTION
11        THEFT BY FALSE PRETENSES (CAL. PENAL CODE § 484 ET SEQ.)
12                                   (Against All Defendants)
13             47.   The preceding paragraphs of this Complaint are realleged and
14    incorporated by reference. Plaintiff asserts this claim on behalf of herself and the
15    Class.
16             48.   California Penal Code § 496(c) reads: “Any person who has been
17    injured by a violation of subdivision (a) or (b) may bring an action for three times the
18    amount of actual damages, if any, sustained by the plaintiff, costs of suit, and
19    reasonable attorney's fees.” Section 496(a) makes receiving, buying, or withholding
20    property “that has been obtained in any manner constituting theft” an act punishable
21    by imprisonment. In turn, section 496(c), applies that statute in civil cases. (Bell v.
22    Feibush (2013) 212 Cal.App.4th 1041.)
23             49.   The “theft” referred to in Section 496 includes theft by false pretenses.
24    Under California law, “theft” includes theft by false pretenses—i.e., the consensual
25    but fraudulent acquisition or retention of property from its owner. (See Cal. Pen.
26    Code, § 484(a).)
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 1          50.    From March 13, 2020 and continuing to the present, Defendants have
 2    retained, and refused to return, money (passes/tickets sales) from Plaintiffs and the
 3    Class by theft by false pretenses.
 4          51.    From March 24, 2020, and continuing to the present, Plaintiffs
 5    demanded return of said money.
 6          52.    Defendants continue to wrongfully withhold the money from Plaintiffs
 7    and the Class.
 8          53.    As a result of Defendants’ wrongful acts and omissions, Plaintiffs and
 9    the Class have suffered damages.
10          54.    In addition, California Penal Code §496(c) provides for treble damages
11    and attorneys’ fees and costs.
12          55.    Defendants are subject to exposure for punitive damages based upon
13    their acts of malice, oppression and fraud as those words are used and defined in
14    Civil Code § 3294.
15                              SECOND CAUSE OF ACTION
16                           FRAUD – IN THE PERFORMANCE
17                                     (Against All Defendants)
18          56.    The preceding paragraphs of this Complaint are realleged and
19    incorporated by reference. Plaintiffs assert this claim on behalf of themselves and
20    the Class.
21          57.    At all relevant times, and specifically from between March 13, 2020 and
22    continuing to the present, Defendants (via The Flemmings) communicated
23    misrepresentations of material facts to, and concealed material facts from, Plaintiffs,
24    including, but not limited to the following: that they did not have money to refund
25    Plaintiffs and the Class as specified in paragraphs 25 through 36.
26          58.    The misrepresentations and concealments, as specified in paragraphs 25
27    through 36, were made and ratified by each defendant.
28
                                      - 15 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
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 1          59.    The representations and concealments made by Defendants, as alleged
 2    above, were erroneous, false, and fraudulent and were made by them with the
 3    intention and purpose that Plaintiffs would rely and be deceived by them.
 4          60.    Plaintiffs justifiably relied on the Defendants’ representations and
 5    concealments.    Had Plaintiffs known the true facts (e.g., that Defendants have
 6    Plaintiffs and the Class’ money but do not intend on returning it), Plaintiffs would
 7    have conducted herself differently by, inter alia, taking actions such as filing suit,
 8    sooner and not purchasing tickets from Plaintiffs.
 9          61.    As a legal result of Defendants’ fraud and deceit, Plaintiffs have
10    suffered (and continues to suffer) substantial injury and damage.
11          62.    Plaintiffs are also entitled to exemplary and/or punitive damages as a
12    result of acts and omissions by Defendants which were malicious, fraudulent and/or
13    oppressive in nature as those words are defined in Civil Code § 3294.
14                                THIRD CAUSE OF ACTION
15                         RESCISSION (CAL. CIV. CODE § 1689)
16                                   (Against All Defendants)
17          63.    The preceding paragraphs of this Complaint are realleged and
18    incorporated by reference. Plaintiffs assert this claim on behalf of themselves and
19    the Class.
20          64.    Plaintiff and the Class seek, pursuant to Civil Code § 1689(b), to rescind
21    the agreements and contracts relative to the passes/tickets on the following grounds:
22    “(3) If the consideration for the obligation of the rescinding party becomes entirely
23    void from any cause; . . . (4) If the consideration for the obligation of the rescinding
24    party, before it is rendered to him, fails in a material respect from any cause; . . . (6)
25    If the public interest will be prejudiced by permitting the contract to stand;” and
26    other causes and grounds according to proof.
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28
                                     - 16 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
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 1          65.    Because the consideration due Plaintiffs and the Class has failed,
 2    Plaintiffs and the Class are entitled to the return of all monies paid to Defendants and
 3    request the same by way of compensatory damages. (Civ. Code § 1691.)
 4          66.    Plaintiffs and the Class intend service of the summons and complaint in
 5    this action to serve as notice of rescission of the Agreement.
 6                              FOURTH CAUSE OF ACTION
 7            VIOLATIONS OF THE CONSUMER LEGAL REMEDIES ACT
 8                              (CIVIL CODE § 1750 ET SEQ.)
 9                                  (Against All Defendants)
10          67.    The preceding paragraphs of this Complaint are realleged and
11    incorporated by reference. Plaintiffs assert this claim on behalf of themselves and
12    the Class.
13          68.    Defendants are a “corporations” as defined by California Civil Code
14    section 1761(c). Plaintiffs and Class members are “consumers” within the meaning
15    of California Civil Code section 1761(d).
16          69.    Plaintiffs’ acts of purchasing passes/tickets sold by Defendants
17    constitute a “Transaction” pursuant to the California Consumer Legal Remedies Act
18    (“CLRA”).
19          70.    Defendants violated, and continue to violate, the CLRA by uniformly
20    and affirmatively representing “that a transaction confers or involves rights,
21    remedies, or obligations that it does not have or involve, or that are prohibited by
22    law” and including unconscionable provisions in the Terms. (Civ. Code, §§ 1770(a)
23    (14) and (19).)
24          71.    Plaintiffs and the Class suffered actual damages as a direct and
25    proximate result of Defendants’ actions and representations in violation of the
26    CLRA.
27          72.    Plaintiffs, on behalf of himself and for all similarly situated, demand
28    judgment against Defendants under the CLRA for injunctive relief that prevents
                                       - 17 -
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 1    further inclusion of unconscionable provisions in the Defendants’ Terms.           In
 2    addition, they demand an award of attorneys’ fees pursuant to California Civil Code
 3    section 1780(d). Plaintiffs will amend this Complaint to include a claim for damages
 4    after providing Defendants with the required Civil Code § 1782 notice.
 5          73.    Plaintiffs and the Class are also entitled to an award of attorneys’ fees
 6    and costs.
 7          74.    Plaintiffs and the Class are also entitled to an award of punitive
 8    damages pursuant to the CLRA. (Civ. Code, § 1780(a)(4).)
 9                               FIFTH CAUSE OF ACTION
10       VIOLATION OF CALIFORNIA BUS. & PROF. CODE § 17200 ET SEQ.
11                                 (Against All Defendants)
12          75.    The preceding paragraphs of this Complaint are realleged and
13    incorporated by reference. Plaintiffs assert this claim on behalf of themselves and
14    the Class.
15          76.    This cause of action is brought on behalf of Plaintiffs and members of
16    the general public pursuant to California Business and Professions Code section
17    17200 et seq. which provides that “unfair competition shall mean and include any
18    unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue
19    or misleading advertising and any act prohibited by Chapter 1 (commencing with
20    Section 17500) of Part 3 of Division 7 of the Business and Professions Code.”
21          77.    Defendants’ above-described deceptive and misleading acts and
22    practices have deceived and/or are likely to deceive Plaintiff and other Class
23    members.
24          78.    Plaintiffs and the Class were, in fact, deceived as to the terms and
25    conditions of services provided by Defendants.
26          79.    The actions described herein constitute a violation of California
27    Business and Professions Code section 17200, et seq. Specifically, Defendants have
28    engaged in acts in violation of law, including, but not limited to violations of
                                   - 18 -
                    SECOND AMENDED CLASS ACTION COMPLAINT
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 1    Business and Professions Code sections 22507 and 17200 et seq., and California
 2    Civil Code §§ 1770 (a (14) and (19).
 3           80.    Plaintiffs and Class members have suffered actual harm as a result of
 4    Defendants’ misrepresentations and/or omissions.         Plaintiffs and the Class have
 5    suffered injury in fact and have lost money as a result of such unfair and unlawful
 6    business practices. Such injuries and losses include, but are not limited to, the full
 7    value and amounts paid for the passes/tickets.
 8           81.    Plaintiffs and the Class seek restitution, injunctive relief and all other
 9    relief from Defendants allowed under §17200, et seq. Plaintiffs and the Class also
10    seek attorneys’ fees pursuant to Cal. Code Civ. Proc. §1021.5, as well as such other
11    and further relief as the Court deems just and proper.
12                                   INJUNCTIVE RELIEF
13                                   INJUNCTIVE RELIEF
14                                   (Against All Defendants)
15           82.    The preceding paragraphs of this Complaint are realleged and
16    incorporated by reference.
17           83.    To the extent that Defendants have obtained releases from Plaintiff and
18    the Class in exchange for less than full refunds due them, Plaintiffs and the Class
19    seek to invalidate said releases. Said releases were obtained by communications
20    with the putative class members that concealed material information and were
21    misleading. Accordingly, Plaintiffs and the Class seek injunctive relief invalidating
22    each and every release obtained by Defendants from the Class during the pendency
23    of this action.
24                                   PRAYER FOR RELIEF
25           WHEREFORE, Plaintiffs and members of the Class request that the Court
26    enter an order or judgment against the Defendants as follows:
27           1.     Certification of the Class and appointment of Plaintiff as Class
28    Representative and her counsel of record as Class Counsel;
                                       - 19 -
                        SECOND AMENDED CLASS ACTION COMPLAINT
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 1               2.    Adjudge
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 2    alleeged herein
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 3               3.    Enjoin
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11               5.    Award
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13               6.    Award
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                                           nd the Classs attorneys' fees andd other costts of suit to
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14    the extent perrmitted by law;
15               7.    Award
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16               8.    Award
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17               9.    Award
                       A     resttitution an
                                           nd all otherr relief alllowed under §17200, et seq. to
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18    Plaaintiff and the
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19               10.   As
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                              EXHIBIT A
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  Terms of Sale
  As a consideration for being allowed entry and to participate in the 2020 Lightning In A
  Bottle event produced by Do LaB, Inc. (the “Event” or “LIB”), The person purchasing the
  ticket (the “Purchaser”) and the person holding the ticket (the “Bearer”) agree to comply
  with any and all rules, regulations, terms, and conditions of the Event, including but not
  limited to all of the terms outlined in this document.
  Bearer certifies that Bearer is physically able to participate in the Event and in any
  associated activity or performance, and that Bearer has not been advised otherwise by a
  qualified medical professional. Tickets sold through this website grant to the Purchaser,
  only a revocable license to the Bearer that may be revoked at any time for any reason.
  Resale or attempted resale of any issued ticket at a price higher than the face value is
  grounds for cancellation without compensation. Bearer assumes all risk or danger
  incidental to Lightning in a Bottle, whether occurring prior to, during, or subsequent to, the
  actual event. The terms of sale of each ticket issued pursuant to a transaction initiated on
  this website are subject to any and all terms imposed by Do Lab. In order to be admitted to
  the event, each attendee must present the wristband in its original, undamaged, unaltered
  form, to the venue at the appropriate time. Entry may be refused for various reasons,
  including but not limited to; misconduct, intoxication, possession of prohibited items or
  violent or aggressive behavior. Bearer agrees that they are physically able to participate in
  the Event and in any associated activity or performance, and that the Bearer has not been
  advised otherwise by a qualified medical professional.
  If purchaser is obtaining tickets and/or vehicle passes for, or providing any tickets and/or
  vehicle passes to, any other person(s), the purchaser recognizes that they are acting as
  that person’s agent in obtaining the tickets and/or vehicle passes, and due to this agency
  relationship, Purchaser agrees to these Terms and Conditions on behalf of any person to
  whom Purchaser deliver any of the tickets and/or vehicle passes they have obtained, and
  the Purchaser shall notify any such person of these Terms and Conditions when they
  deliver a ticket and/or vehicle pass to that person. If purchaser has obtained a ticket and/or
  vehicle pass from another person, the Purchaser also agrees to these Terms and
  Conditions when the ticket and/or vehicle pass is delivered to them.
  Release of Liability
  THE BEARER EXPRESSLY ASSUMES ALL RISK AND DANGER ARISING FROM OR
  INCIDENTAL TO THE EVENT FOR WHICH THE TICKET IS ISSUED, WHETHER SUCH
  RISKS OCCUR PRIOR TO, DURING, OR SUBSEQUENT TO THE ACTUAL EVENT THE
  HOLDER EXPRESSLY RELEASES THE EVENT FACILITY, MANAGEMENT,
  PROMOTERS, PARTICIPANTS, PERFORMERS, ARTISTS, AND THE TICKETING
  SERVICES PROVIDER (collectively “MANAGEMENT”) AND ALL OF THEIR OWNERS,
  OFFICERS, DIRECTORS, EMPLOYEES, CONTRACTORS, REPRESENTATIVES, AND
  AGENTS, FROM ANY AND ALL CLAIMS THAT THE HOLDER HAS OR MAY HAVE THAT
  ARISE FROM OR ARE INCIDENTAL TO THE EVENT, INCLUDING ANY CLAIMS
  ARISING OUT OF THE NEGLIGENCE OF MANAGEMENT OR MANAGEMENT’S
  OWNERS, OFFICERS, DIRECTORS, EMPLOYEES, CONTRACTORS,
  REPRESENTATIVES, OR AGENTS. THE BEARER KNOWINGLY AND VOLUNTARILY

https://lightninginabottle.org/terms-conditions/                                                                    1/7
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  ASSUME ALL RISK OF PROPERTY LOSS, PERSONAL INJURY, SERIOUS INJURY, OR
  DEATH, WHICH MAY OCCUR BY ATTENDING LIGHTNING IN A BOTTLE 2020, AND
  HEREBY FOREVER RELEASE, DISCHARGE, AND HOLD DO LAB, INC HARMLESS
  FROM ANY CLAIM ARISING FROM SUCH RISK, EVEN IF ARISING FROM THE
  NEGLIGENCE OF DO LAB, OR FROM THIRD PARTIES, AND THE BEARER ASSUME
  FULL RESPONSIBILITY AND LIABILITY FOR THEIR PARTICIPATION.
  Refunds and Exchanges
  ALL SALES ARE FINAL. NO REFUNDS WILL BE GRANTED FOR ANY REASON.
  EVENT DATE AND TIME SUBJECT TO CHANGE. ALL RIGHTS RESERVED. IF THE
  EVENT FOR WHICH THIS TICKET IS ISSUED IS RESCHEDULED OR CANCELLED,
  THE HOLDER SHALL NOT BE ENTITLED TO A REFUND EXCEPT AS OTHERWISE
  REQUIRED BY LAW. INSTEAD, THE HOLDER SHALL HAVE THE RIGHT, EXCEPT AS
  OTHERWISE PROVIDED, (1) IF THE EVENT IS RESCHEDULED TO A DATE AND TIME
  WITHIN TWELVE MONTHS OF THE DATE AND TIME ORIGINALLY SCHEDULED, TO
  USE THIS TICKET TO ATTEND THE EVENT AT THE RESCHEDULED DATE AND TIME,
  OR (2) IF THE EVENT IS NOT RESCHEDULED WITHIN TWELVE MONTHS OF THE
  DATE AND TIME ORIGINALLY SCHEDULED, TO EXCHANGE THIS TICKET TO
  ANOTHER EVENT THAT IS DESIGNATED BY MANAGEMENT AS THE OFFICIAL
  REPLACEMENT EVENT FOR THE CANCELLED EVENT. This ticket is not subject to any
  refund, bears no cash value, and is not redeemable for cash. Artist and set times are
  subject to change without notice. This ticket is not subject to exchange except as expressly
  provided above. If issued as a complimentary ticket, this ticket is not exchangeable or
  redeemable for another ticket to any other event or performance or for any other
  consideration, monetary or otherwise. Tickets obtained from unauthorized sources may be
  counterfeit and worthless. Tickets cannot be replaced if lost, stolen or destroyed, and are
  valid only for the event for which they are issued. It is unlawful to reproduce this ticket in
  any form. PURCHASER AGREES NOT FILE A CHARGEBACK OR ANY TYPE OF
  PAYMENT REVERSAL FOR ANY REASON. Do LaB is not liable for acts of God, the
  weather, strikes, protests, or actions taken by government agencies and similar causes.
  Tickets and vehicle passes are nonrefundable even if the Event is terminated early or
  canceled, or entry conditions are modified, due to harsh weather, acts of nature,
  governmental regulation, the failure to obtain required governmental permits, or conditions
  beyond Do LaB’s control. Management reserves all rights not expressly granted to the
  holder by these terms. Please read our Ticketing FAQ at
  https://lightninginabottle.org/ticketing-faq/ for more information.
  Prohibited Items
  The following items are prohibited inside the venue; pets or animals of any kind with the
  exception of registered service animals cleared through our ADA program, drones of any
  size, guns or weapons of any kind, fireworks or explosives, laser or handheld laser
  pointers, any drugs classified as illegal by the local municipality, the State of California or
  the United States federal government, excessive amounts of alcohol that exceed what is
  deemed to be for personal use, live plants, and any other item management deems to be
  inappropriate for the event or that may present a potential safety risk.
  Entry Search
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  Bearer and Bearer’s belonging may be searched for prohibited items and non-ticket
  holding individuals upon entry into the Event, and Bearer consents to such searches and
  waives any related claims that might arise against the Do Lab and its agents. If the Bearer
  elects not to consent to such searches, the Bearer will be denied entry into the Event.
  Reservation of Rights
  Management reserves the right to refuse admission to or eject any person whose conduct
  is deemed by Management, at Management’s sole discretion, to be undesirable, including
  (but not limited to); disorderly conduct, use of vulgar or abusive language toward staff or
  other attendees, or failure to follow Management or facility rules and directions.
  Undesirable conduct of any of the types expressly listed above will automatically terminate
  this license and all rights of the Bearer. The exercise of management’s ejection rights
  hereunder does not entitle the Bearer to a refund of the ticket price or any part thereof.
  This ticket is a revocable license and admission may be refused upon refunding the face
  amount of the ticket, at management’s discretion.
  Copyright/ Logo
  Bearer acknowledge that “Lightning in a Bottle,” “LIB,” “The Do LaB,” and all logos and
  symbols associated therewith are registered trademarks owned by Do LaB, Inc. and that
  Do LaB, Inc. has the exclusive right to license and enforce those trademarks and any other
  trademarks, copyrights, and other intellectual property owned or licensed by Do LaB, Inc.,
  including any likenesses, drawings, and representations of the Event (collectively, “LIB
  Intellectual Property”).
  WITHOUT THE PRIOR WRITTEN CONSENT OF DO LAB, I UNDERSTAND THAT I MAY
  NOT USE ANY LIB INTELLECTUAL PROPERTY OR EVENT IMAGERY IN ANY
  ADVERTISEMENT OR PROMOTIONAL MATERIAL (INCLUDING WITHOUT LIMITATION
  MUSIC VIDEOS OR POSTS ON THE SOCIAL MEDIA ACCOUNTS OF COMMERCIAL
  ENTERPRISES), OR IN THE TITLE OR ON THE COVER OF ANY PUBLICATION, unless
  the use is authorized in writing by Do LaB, Inc.
  Photo/Video/Drones
  By entering the Event, all Bearers agree to the following terms, conditions, and guidelines
  for the use of any imagery obtained at the Event, including still photographs and videos
  (hereinafter “Event Imagery”). Participants may only use Event Imagery for “Personal Use,”
  defined to include: (1) sharing with friends and family; (2) displaying on personal websites
  (as long as the website does not sell any product or service, and does not purport or
  appear to be an official website of the Event or Do LaB); and (3) displaying on social
  networking websites, such as Instagram and Facebook (as long as the display of the Event
  Imagery on these sites is not commercial or promotional in any manner and the social
  media account is not affiliated with any commercial enterprise).
  Bearer UNDERSTANDS AND ACCEPTS THAT BEARER MAY NOT MAKE ANY USE OF
  EVENT IMAGERY WITHOUT PRIOR WRITTEN PERMISSION FROM DO LAB, OTHER
  THAN PERSONAL USE (as defined above). Bearer understands that Bearer has no right
  to sell, transfer, license, sublicense, or give Event Imagery to any other party, except for
  Personal Use, and agree to inform anyone to whom Event Imagery is given that it can only

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  be used for Personal Use. Bearer further agrees to be bound by the Event’s Photography
  Policy a copy of which can be found at https://lightninginabottle.org/photography-policy-at-
  lib/.
  All photographers using DSLRs or cameras with detachable lenses are required to have
  media credentials to take pictures at the Festival. Parties wishing to obtain media
  credentials can submit a Press Request Form available on the website at
  (https://docs.google.com/forms/d/e/1FAIpQLSdPd_Ocy-
  nFjUN0btrhXzvk_EPkCf43OIZql5OWcwgQh0SqYA/viewform?c=0&w=1). Any party
  interested in making any commercial use of their documentation of the Event or in
  distributing footage beyond Personal Use must, however, enter into a separate written
  agreement with Do LaB prior to any such use.
  Bearer acknowledges that the use of drones is specifically prohibited at the Event. Bearer
  agree to be bound by the terms of the Event’s Drone Policy which can be found at
  https://lightninginabottle.org/drones-policy/
  Bearer acknowledges that people will be using film, video, and photographic cameras at
  the Event, and that the Bearer’s image may be captured on film, video, or photographs that
  may subsequently be displayed or disseminated without Bearer’s consent or payment of
  compensation to Bearer, and the Bearer releases Do LaB from any liability due to such
  capturing, display, or dissemination.
  Gift Material
  Do LaB generally permits the use of Lightning in a Bottle related intellectual property,
  without payment of any license fee, on materials that are given away at or in connection
  with the Event (“Gift Materials”), with the following conditions: (1) Do LaB may, for any
  reason in its discretion, determine that such use is not in keeping with Do LaB’s quality
  control, and if so, all such materials shall no longer be distributed; and (2) no Gift Materials
  may be sold (including to recoup the cost of producing them), exchanged for something of
  value, or distributed in any manner in which the Gift Materials are likely to be sold or
  exchanged for something of value.
  Consent to Electronic Communication
  Bearer agrees that we may provide electronically any and all communications concerning
  tickets and/or any payment plan entered into as well as any disclosures required by federal
  or state law. Bearer’s consent applies not only to the tickets and any payment plan but also
  to any ancillary agreement related to these and to any future tickets or payment plans
  obtained through us.
  Consent to Medical Treatment
  Bearer consents to have medical treatment that may be deemed advisable in the event of
  injury, accident, and/or illness during any program, event, or activity at the Event. Bearer
  releases Do LaB, Inc. and all persons participating in any such medical treatment from all
  responsibility for any such actions. Bearer holds Do Lab harmless should contraction of an
  illness, disease or any other malady occur while attending the event or as a result of
  attending the event.

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  Ticket Fulfillment
  Purchaser acknowledges that all tickets will be mailed to the address provided to
  Eventbrite at the time of purchase. Tickets will be mailed exclusively to the Purchaser and
  not to any other person or entity. The address may be updated until the designated date
  established by Do Lab. Do Lab will be held harmless and will not reship deliveries deemed
  undeliverable, mislabeled or damaged, this included addresses not changed in the
  Eventbrite system, computer errors, or any other known or unknown issues. All
  undelivered tickets will have to be picked up at Will Call without exception. Do Lab ships
  only within the United States. All international purchases will have to be picked up at Will
  Call. Tickets will not be available at the Do Lab offices.
  For any ticket or vehicle pass sale or sale registration, if for any reason whatsoever,
  including computer or software malfunction, mistake or inadvertence, network congestion
  or crashes, Purchaser is not able to purchase any tickets or vehicle passes through the
  sale process, or their registration for a sale or the purchase of tickets or vehicle passes is
  not processed, or they receive a notice that their ticket or vehicle pass purchase or ticket
  registration is rescinded, revoked, canceled, or made in error and their credit card payment
  is credited to a credit card account, Purchaser holds Do Lab harmless.
  Food and Food Vendors
  Bearer understands that food will be sold at the Event. Do Lab bears no responsibility and
  will be held harmless for the contraction of or additional issues arising from food borne
  illnesses, food allergies or any other issues arising from the distribution, sale or
  consumption of food at the event. Further, Do Lab will be held harmless for any issues with
  food brought in by the Bearer or any other attendees.
  Provisions
  Bearer understands that Bearer must bring enough food, water, shelter, and first aid to last
  the duration of the Event in a potentially harsh environment, please see the Camping FAQ
  (https://dev2.lightninginabottle.org/camping/) for more information and packing guidelines
  Vehicle Passes
  ALL VEHICLES DRIVEN INTO THE EVENT MUST HAVE A CAR CAMPING OR RV PASS
  DISPLAYED IN THE WINDSHEILD. Bearer understand that a vehicle pass only grants the
  ability to drive a vehicle into the Event site and directly to one’s camp location as directed
  by Event staff and that a vehicle pass does not grant any additional on-site driving
  privileges. UNAUTHORIZED DRIVING WITHIN THE EVENT SITE IS PROHIBITED. Each
  stand-alone vehicle driven through the Gate must have a vehicle pass. (Trailers and art
  cars on trailers do NOT require a vehicle pass.) Do LaB reserves the right to subject the
  use of vehicle passes to further terms and conditions, which would be published on the LIB
  website (www.Lightninginabottle.org)and/or at the Event.
  Bearer understands that vehicle passes are not Event tickets and do not grant any person
  entry into the Event without a separate Event ticket. Likewise, the purchase of an Event
  ticket does not include the right to drive a motor vehicle into the Event or reserve a vehicle
  pass for that ticket holder. Purchaser understands that they may not purchase ONLY a
  vehicle pass; to purchase a vehicle pass, Purchaser must also purchase at least one
https://lightninginabottle.org/terms-conditions/                                                                    5/7
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  Event ticket. Purchaser understands that if they purchase only a vehicle pass, the order
  may be canceled. No ticket refunds will be issued because the Bearer neglected or was
  unable to acquire a vehicle pass from Do LaB. To help mitigate traffic issues, Do LaB
  reserves the right to limit the number of car and RV camping passes available for the
  Event, and the number of vehicle passes an individual may purchase. Please visit the
  camping information page at (https://lightninginabottle.org/camping/) for more information.
  For any ticket or vehicle pass sale or sale registration, if for any reason whatsoever,
  including computer or software malfunction, mistake or inadvertence, network congestion
  or crashes, Purchaser is not able to purchase any tickets or vehicle passes through the
  sale process, or Purchaser’s registration for a sale or the purchase of tickets or vehicle
  passes is not processed, or Purchaser receives a notice that their ticket or vehicle pass
  purchase or ticket registration is rescinded, revoked, canceled, or made in error and
  Purchaser’s credit card payment is credited to Purchaser’s credit card account, Purchaser
  waives any claim against Do LaB and release Do LaB from any and all liability.
  Do LaB retains the right to cancel, rescind or revoke any ticket purchases or vehicle pass
  purchases at any time for any reason whatsoever at Do LaB’s sole discretion. Only ticket
  orders placed through the Eventbrite website are guaranteed to be authentic. Please visit
  the tickets and lineup pages at https://lightninginabottle.org for ticketing FAQs, wristband
  FAQs and other information regarding the types of tickets available and purchasing tickets
  and car/RV passes.
  Recycling/Trash Removal
  LIB is a “pack it in, pack it out” event and we strive to have zero impact on the land we
  possess during the event. Bearer agrees to use only designated trash and/or recycling
  receptacles prior to, during and after the event. Bearer agrees under no circumstance to
  leave trash or recycling in the Event confines or anywhere surrounding the venue. We ask
  that you not bring single serve plastic bottles into the Event. Trash or recycling may not be
  buried, burned or disposed of in any body of water. Violation of these terms may lead to
  immediate expulsion from the Event.
  Vending without Authorization
  Bearer understands that commercial vending of any kind, including without limitation, the
  provision of any goods or services delivered to or at the Event for a prepaid fee, is
  prohibited except as authorized by Do LaB. No sponsorship, on site marketing, sampling,
  coupon/product distribution, or other promotional/advertising activity may be conducted at
  the Event (inclusive of parking lots), absent Do Lab’s prior written approval in each
  instance.
  Minors
  The Bearer acknowledges that attendees under the age of 18 may be at the Event. No
  minor will be allowed to enter the event without a parent or court designated legal guardian
  (paperwork must be provided to Do LaB proving such guardianship) over the age of 25. All
  minors must purchase a ticket at the box office prior to entering the event. No previously
  purchased ticket will be refunded if minor tickets are sold out at the box office. Bearer
  agrees that they will be responsible at all times for any and all minors in their care. Bearer

https://lightninginabottle.org/terms-conditions/                                                                    6/7
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  agrees to the contractual terms contained in this document on behalf of the minor. More
  information can be found on guardianship here: http://www.courts.ca.gov/1214.htm. Please
  visit the General FAQs on the website (https://lightninginabottle.org/general-faq/) for more
  information.
  Compliance with Facility Rules
  The Bearer agrees to comply with all local or facility rules that prohibit or limit alcoholic
  beverages, illegal drugs, controlled substances, and all other prohibited items from being
  brought into the event premises.
  Final Agreement
  These Terms and Conditions shall be governed by and enforced according to the laws of
  the State of California without regard to any rules relating to conflicts of laws. Bearer
  understands that any claim or dispute arising out of or in connection with these Terms and
  Conditions must be brought exclusively in the federal or state courts located in Los
  Angeles, California, and Bearer will submit to the personal jurisdiction of such courts for
  the purpose of litigating all such claims or disputes.
  Information provided to Do LaB, Inc. in connection with the purchase of Event tickets or
  vehicle passes is covered by the LIB Privacy Policy, available at
  https://lightninginabottle.org/privacy-policy/.
  Bearer understands that these Terms and Conditions may be changed by Do LaB prior to
  the Event, and if so, the revised Terms and Conditions will apply to the Bearer. The most
  current version can be found at https://lightninginabottle.org/terms-and-conditions. Bearer’s
  use of a ticket or other entry credential for entry to the Event signifies Bearer’s binding
  agreement to the Terms and Conditions in effect at the time of Bearer’s entry to the Event.
  BEARER ACKNOWLEDGES THAT BEARER HAS READ AND FULLY UNDERSTANDS
  THESE TERMS AND CONDITIONS, WAIVER AND RELEASE OF LIABILITY, AND ALL
  OTHER POLICIES, CODES OF CONDUCT AND OTHER INFORMATION REGARDING
  THE EVENT AND DO LAB CONTAINED ON THE LIB WEBSITE (
  https://lightninginabottle.org). BEARER UNDERSTANDS THAT BEARER HAS GIVEN UP
  SUBSTANTIAL RIGHTS, AND BEARER DOES SO KNOWINGLY AND VOLUNTARILY
  WITHOUT ANY INDUCEMENT OR DURESS.




https://lightninginabottle.org/terms-conditions/                                                                    7/7
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                               EXHIBIT B
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To our amazing LIB community...




                                                             Dear LIB Community,

                                  As you know, government mandates in response to COVID-19 forced us to
                                  cancel Lightning in a Bottle. Several weeks ago, under immense pressure,
                                  we presented you with a plan to move forward, a plan that fell short of our
                                  standards and your expectations. Please accept our apologies; we aim to
                                  create joy and human connection, and never want to disappoint anyone--
                                  especially all of you.

                                  This is by far the most difficult predicament we have experienced since we
                                  started LIB almost 20 years ago. For the first time, we are challenged to find
                                  a clear path forward.

                                  Thank you for your patience with us as we work through potential solutions.
                                  The festival industry is in a time of crisis. Many great independent companies
                                  will go out of business and cherished festivals and events will disappear. We
                                  are committed to LIB not being one of them, but we need your help to meet
                                  that commitment. As discussed below, the collective reaction from our
                                  community moving forward will be a significant factor in whether we are able
                                  to weather this storm.

                                  As big as LIB may seem, it operates with a lot of risk and very small margins.
                                                                     1
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          We work to keep ticket prices affordable, and ticket revenue alone does not
          usually cover all of the festival’s expenses. As soon as one LIB ends,
          production and spending for the next festival begins. As ticket revenue comes
          in it generally goes out just as fast to pay our vendors, put down deposits for
          talent, pay out substantial staff, build stages and sets, pay for permits,
          location fees, etc. Producing LIB requires twelve months’ collaboration with a
          huge ecosystem of producers, managers, artists and creators. Many of these
          folks have been working for 6 months or more on our 2020 festival.

          All of this is just to say that ticket sales, in a good year, cover the festival’s
          bills and we rely on other sales at our festival to make our profit. Profitability
          of the event, or whether or not we break even, is determined in the final
          weeks of sales right before the festival starts.

          When it became clear to us that the event was going to be canceled, we were
          mid-production and had spent nearly all of the ticket money on LIB. We faced
          a heartbreaking truth: we do not have enough money to issue full refunds to
          all of you. We therefore announced that there would be no refunds.

          Notwithstanding our prior announcement, we remain committed to getting a
          full refund to everyone who wants one. We have worked together with the
          music agents and artists, and are thankful to announce that a vast majority of
          the artists, despite having incurred their own non-refundable expenses in
          planning for their LIB performances, are returning their deposits in an effort to
          help us in this time of crisis. Our goal is to build the largest pool of money
          possible so that we can then use it to help refund ticket purchasers. However,
          we need you to understand the situation, and that is if the majority of our
          community request refunds, it may mean the end of Do LaB because the pool
          will be far too small to refund everyone, and that debt will be crushing.

          If your life has been touched or changed in an unforgettable way by Lightning
          in a Bottle, please help us make it through to the other side.

                                Specifically, we ask that you either:

          1. Support the Future of LIB With a Gift.
          If you want our organization to continue to exist and you are able to, please
          gift your 2020 purchase to our shared future. If you can choose this option we
          would be forever grateful. Click Here to Select Option 1

                                                   Or,

          2. Transfer Your 2020 Ticket to a Ticket for 2021 or 2022.
          If you can transfer your 2020 ticket to either 2021 or 2022, please do so. If
          you are able and willing, please consider choosing 2022 instead of 2021. As
                                               2
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          an incentive to choose 2022, you will receive a free VIP upgrade for each
          2020 festival pass. If the majority of you choose 2021, it will create an
          extremely challenging set of financial circumstances for us next year. Your
          understanding and willingness to work with us on this is appreciated beyond
          measure. Thank you. Click Here to Select Option 2

          3. Join the Pool to Receive a Refund.
          If you truly cannot do either option 1 or 2, please sign up for a refund by April
          29th at 12pm. Once the refund registration window closes, we will understand
          how many full refunds we can pay, and whether we need to offer partial
          refunds. Refunds will not be immediate. We cannot give an estimate as to
          when, but will communicate as we get clarity. Click Here to Select Option 3

          We understand that this is a big request of all of you, and far from a perfect
          resolution. But we also know that you care about LIB as much as we do, and
          that we likely cannot keep it afloat without your cooperation. We want to
          support you, and are asking you to support us. And, if you have any other
          creative ideas or solutions that we might have missed, please let us know at:
          questions2020@lightninginabottle.org

          It takes a community to create the magic of a festival and it is a community
          that can help all of us get through this together. It is our hope and vision that
          we will be together for all of the love, joy, and connection offered by LIB next
          year, but we need your help to fulfill that vision.


                                             In Solidarity,
                                                Do LaB




                                       *Disclaimer: Due to the nature of
                                     the situation and time sensitivity of
                                       your response, please note your
                                             selection is final, is not
                                          transferable and cannot be
                                       changed. For non-responders of
                                      the options provided, the credit of
                                     your ticket purchase will be applied
                                           to the forgo refund option.




                                                 3
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                                    Do LaB - 1024 Santee St
                                     Los Angeles, CA 90015


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                      You received this email because you are registered with
                                              Do LaB

                                        Unsubscribe here




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                               EXHIBIT C
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                   Sign Up To Join the
                   LIB 2020 Refund Pool
                   Please 'll out all the info below accurately so we
                   can match your refund request to a purchase in
                   the ticketing system. If we are not able to 'nd your
                   order, or the info entered below does not match
                   the order number's info, we will not be able to
                   process the refund.

                   As to 'nal refund amount, we will use best efforts
                   to gather the largest pool of money possible so
                   we can distribute it pro rata to the customers who
                   have opted into the refund pool. Once the sign-up
                   window is closed, we will have a 'nal
                   determination of how many people have
                   requested a refund and the amount of money
                   available for the refund pool. Our goal is to refund
                   as much of everyone’s purchase price as possible,
                   but there is a possibility, based on the amount of
                   money in the pool and the number of customers
                   requesting a refund, that you may only receive a
                   partial refund. Totaling all the refund requests
                   after the deadline will take time to obtain the
                   largest amount of funding for the pool as possible
                   and we cannot give you an estimate as to how
                   long it will take to receive your refund. We will
                   send an email out to all participants on May 1st
                   after the forms close with an update on refunds.

                   (Car camping, RV passes and Boutique Camping
                   passes are all eligible for transfer or refund)
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                   *Disclaimer: Due to the nature of the situation
                   and time sensitivity of your response, please note
                   your selection is 'nal, is not transferable and
                   cannot be changed. For non-responders of the
                   options provided, the credit of your ticket
                   purchase will be applied to the forgo refund
                   option.

                   * Required




                   Email address *


                   Your email




                   Name (as it appears on ticket order) *


                   Your answer




                   Email address (used to place ticket order) *


                   Your answer
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                    Eventbrite Order Number *
                    If you purchased tickets to LIB 2020 in more than one
                    order, please 'll out a separate refund form for each
                    order number



                    Your answer




                    Total cost of your Eventbrite order *
                    Please enter the total purchase cost of the order number
                    listed above. If you have multiple order numbers, please
                    'll out a separate form for each order number



                    Your answer




                    Acknowledgement *
                    By selecting "I agree" below and submitting the form, you
                    are acknowledging you have fully read, understand and
                    agree to the Disclaimer and the option that you have
                    chosen, that you are of legal age to consent to this
                    agreement, and are choosing this option in exchange for
                    a release of claim against Do Lab, Inc. and its employees
                    arising from your purchase of a ticket to Lightning In A
                    Bottle 2020 and the cancellation of the event.


                         I agree




                A copy of your responses will be emailed to the
                address you provided.


                   Submit


                Never submit passwords through Google Forms.
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                                            reCAPTCHA
                                            Privacy Terms


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